Case 0:10-cv-62409-WPD Document 1 Entered on FLSD Docket 12/10/2010 Page 1 of 9


                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 SUSAN M. JORDAN,

       Plaintiff,

 v.

 ER SOLUTIONS, INC.,

       Defendant.

 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”), the Florida Consumer Collection Practices Act,

 Fla. Stat. §559.55 et seq. (“FCCPA”), and the Telephone Consumer Protection Act,

 47 U.S.C §227, et seq. (“TCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

                                      PARTIES

       3.     Plaintiff, SUSAN M. JORDAN, is a natural person, and citizen of the

 State of Florida, residing in Broward County, Florida.
Case 0:10-cv-62409-WPD Document 1 Entered on FLSD Docket 12/10/2010 Page 2 of 9


        4.    Defendant, ER SOLUTIONS, INC., is a professional corporation and

 citizen of the State of Washington with its principal place of business at 800

 Southwest 39th Street, Renton, Washington 98055.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

        10.   Defendant left the following messages on Plaintiff’s voice mail on her

 residential telephone and cellular telephone as indicated on or about the dates

 stated:

        December 10, 2009 – Home Phone
        This is Tim Mills from ER Solutions. This is a message for Susan Jordan.
        Please call back as soon as possible. This call is in regard to an important
        business matter. Call back number is 1-877-897-5400. Thank you.

        January 28, 2010 – Pre-Recorded Message – Home Phone
        877-897-5400. If you are not the person I asked for, please hang up or
        disconnect. If you are the right person then please continue to listen. Susan

                                           2
Case 0:10-cv-62409-WPD Document 1 Entered on FLSD Docket 12/10/2010 Page 3 of 9


       Jordan, you should not listen to this message so that other people can hear it
       as it contains personal and private information. There will now be a short
       pause to allow you to disconnect or listen to this message in private. By
       continuing to listen to this message, you acknowledge you are Susan Jordan.
       This is Kelly Smith, a debt collector from ER Solutions. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please contact me at 877-897-5400. Thank you.

       February 1, 2010 – Pre-Recorded Message – Home Phone
       Jordan. You should not listen. Hello, this is a message for Susan Jordan and
       my number is 877-897-5400. If you are not the person I asked for, please
       hang up or disconnect. If you are the right person, then please continue to
       listen. Susan Jordan, you should not listen to this message so that other
       people can hear it as it contains personal and private information. There will
       now be a short pause to allow you to disconnect or listen to this message in
       private. By continuing to listen to this message, you acknowledge you are
       Susan Jordan. This is Kelly Smith, a debt collector from ER Solutions. This
       is an attempt to collect a debt and any information obtained will be used for
       that purpose. Please contact me at 877-897-5400. Thank you.

       February 4, 2010 – Pre-Recorded Message – Home Phone
       Hello, this is a message for Susan Jordan and my number is 877-897-5400.
       If you are not the person I asked for, please hang up or disconnect. If you are
       the right person, then please continue to listen. Susan Jordan, you should not
       listen to this message so that other people can hear it as it contains personal
       and private information. There will now be a short pause to allow you to
       disconnect or listen to this message in private. By continuing to listen to this
       message, you acknowledge you are Susan Jordan. This is Kelly Smith, a
       debt collector from ER Solutions. This is an attempt to collect a debt and any
       information obtained will be used for that purpose. Please contact me at 877-
       897-5400. Thank you.

       February 9, 2010 – Pre-Recorded Message – Home Phone
       Hello, this is a message for Susan Jordan and my number is 877-897-5400.
       If you are not the person I asked for, please hang up or disconnect. If you are
       the right person, then please continue to listen. Susan Jordan, you should not
       listen to this message so that other people can hear it as it contains personal
       and private information. There will now be a short pause to allow you to
       disconnect or listen to this message in private. By continuing to listen to this
       message, you acknowledge you are Susan Jordan. This is Kelly Smith, a

                                           3
Case 0:10-cv-62409-WPD Document 1 Entered on FLSD Docket 12/10/2010 Page 4 of 9


       debt collector from ER Solutions. This is an attempt to collect a debt and any
       information obtained will be used for that purpose. Please contact me at 877-
       897-5400. Thank you.

       February 15, 2010 – Pre-Recorded Message – Home Phone
       Hello, this is a message for Susan Jordan and my number is 877-897-5400.
       If you are not the person I asked for, please hang up or disconnect. If you are
       the right person, then please continue to listen. Susan Jordan, you should not
       listen to this message so that other people can hear it as it contains personal
       and private information. There will now be a short pause to allow you to
       disconnect or listen to this message in private. By continuing to listen to this
       message, you acknowledge you are Susan Jordan. This is Kelly Smith, a
       debt collector from ER Solutions. This is an attempt to collect a debt and any
       information obtained will be used for that purpose. Please contact me at 877-
       897-5400. Thank you.

       July 13, 2010 at 3:40 PM – Pre-Recorded Message – Cellular Phone
       And my number is 877-897-5400. If you are not the person I asked for,
       please hang up or disconnect. If you are the right person, please continue to
       listen. Susan Jordan, you should not listen to this message if other people
       can hear you because it contains private information. There will be a short
       pause to allow you to disconnect or listen to this message in private. By
       continuing to listen to this message, you acknowledge you are Susan Jordan.
       This is Kelly Smith, a debt collector from ER Solutions. This is an attempt
       to collect a debt and any information obtained will be used for that purpose.
       Please contact me at 877-897-5400.

       11.    Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

       12.    The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       13.    Defendant used an automatic telephone dialing system or a pre-

 recorded or artificial voice to place telephone calls to Plaintiff’s cellular telephone.

                                            4
Case 0:10-cv-62409-WPD Document 1 Entered on FLSD Docket 12/10/2010 Page 5 of 9


       14.    Plaintiff did not expressly consent to Defendant’s placement of

 telephone calls to Plaintiff’s cellular telephone by the use of an automatic

 telephone dialing system or a pre-recorded or artificial voice prior to Defendant’s

 placement of the calls.

       15.    None of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

       16.    Defendant willfully or knowingly violated the TCPA.

                         COUNT I
    TELEPHONIC HARASSMENT AND ABUSE FOR UNAUTHORIZED
             CALLS TO A CELLULAR TELEPHONE

       17.    Plaintiff incorporates Paragraphs 1 through 16.

       18.    Defendant engaged in conduct the natural consequence of which is to

 harass, oppress, or abuse by using an automatic telephone dialing system or pre-

 recorded or artificial voice in placing telephone calls to Plaintiff’s cellular

 telephone to which Plaintiff had not consented, in violation of 15 U.S.C §1692d.

 See Order Denying Defendants’ Motion to Dismiss Count IV (DE 19), Clarke,

 Kerryjoe N.. v Weltman, Weinberg & Reis, Co., et al., Case No.: 10-60600-Civ-

 Cohn/Seltzer (S.D. Fla July 15, 2010), (holding that the same conduct can

 separately support a violation of both the FDCPA and TCPA).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:



                                            5
Case 0:10-cv-62409-WPD Document 1 Entered on FLSD Docket 12/10/2010 Page 6 of 9


              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit; and

              c.     Such other or further relief as the Court deems proper.

                         COUNT II
     ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
        FLORIDA CONSUMER COLLECTION PRACTICES ACT

       19.    Plaintiff incorporates Paragraphs 1 through 16.

       20.    Defendant asserted the right to collect a debt by using an automatic

 telephone dialing system or pre-recorded or artificial voice in placing telephone

 calls to Plaintiff’s cellular telephone to which Plaintiff had not consented, when

 Defendant knew it did not have a legal right to use such collection techniques in

 violation of Fla. Stat. §559.72(9). See Cliff v Payco General American Credits,

 Inc., 363 F.3d 1113, 1126 (11th Circuit 2004) (citing Kaplan v Assetcare, Inc., 88

 F.Supp.2d 1355, 1363 (S.D. Fla. 2000)) and Gaalswyk-Knetzke v The Receivable

 Management Services Corporation, Case No.: 8:08-cv-493-T-26TGW, 2008 U.S.

 Dist. LEXIS 44152 (M.D. Fla. May 27, 2008), (holding that with respect to

 determining what constitutes a misrepresentation of a legal right under section

 559.72(9), the court must “refer to other statutes that establish the legitimacy of a

 debt and define legal rights”).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:



                                            6
Case 0:10-cv-62409-WPD Document 1 Entered on FLSD Docket 12/10/2010 Page 7 of 9


              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit;

              c.     declaring that Defendant’s practices violate the FCCPA;

              d.     permanently injoining Defendant from engaging in the

              complained of practices; and

              e.     Such other or further relief as the Court deems proper.

                         COUNT III
      HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                COLLECTION PRACTICES ACT

       21.    Plaintiff incorporates Paragraphs 1 through 16.

       22.    By using an automatic telephone dialing system or pre-recorded or

 artificial voice in placing telephone calls to Plaintiff’s cellular telephone to which

 Plaintiff had not consented, Defendant willfully engaged in conduct the natural

 consequence of which is to harass in violation of Fla. Stat. §559.72(7).

       23.    The FCCPA provides for equitable relief including injunctive relief.

 Berg v. Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla.

 2008).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit;



                                            7
Case 0:10-cv-62409-WPD Document 1 Entered on FLSD Docket 12/10/2010 Page 8 of 9


               c.    declaring that Defendant’s practices violate the FCCPA;

               d.    permanently injoining Defendant from engaging in the

               complained of practices; and

               e.    Such other or further relief as the Court deems proper.

                         COUNT IV
   VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

        24.    Plaintiff incorporates Paragraphs 1 through 16.

        25.    Defendant placed non-emergency telephone calls to Plaintiff’s cellular

 telephone using an automatic telephone dialing system or pre-recorded or artificial

 voice without Plaintiff’s prior express consent in violation of 47 U.S.C § 227

 (b)(1)(A)(iii).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    a declaration that Defendant’s calls violate the TCPA;

               c.    a permanent injunction prohibiting Defendant from placing

               non-emergency calls to the cellular telephone of any person using an

               automatic telephone dialing system or pre-recorded or artificial voice

               without the prior express consent of the called party; and

               d.    Such other or further relief as the Court deems proper.

                                        JURY DEMAND

                                           8
Case 0:10-cv-62409-WPD Document 1 Entered on FLSD Docket 12/10/2010 Page 9 of 9


        Plaintiff demands trial by jury.

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                                            9
